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             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVISON DESIGN &                      )
DEVELOPMENT, INC.,                    )
                                      )
           Plaintiff,                 )
                                      ) No.
    v.                                )
                                      )
MARIO SCORZA,                         )
                                      )
            Defendant.                )

                                Exhibit 1

                July 6, 2021 Plaintiff’s Original Petition
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MARIO SCORZA,                                  §
    Plaintiff,                                 §
                                               §       American Arbitration Association
v.                                             §       Case No.
                                               §
DAVISON DESIGN &                               §
DEVELOPMENT, INC.,                             §
     Defendant.                                §


                             PLAINTIFF’S ORIGINAL PETITION


         COMES NOW, Mario Scorza (“Plaintiff”), Plaintiff in the above-styled cause of action,

and complains of Davison Design & Development, Inc. (“Defendant”). For good cause, and in

support of same, Plaintiff would respectfully show this Court as follows:

                                                I
                                             PARTIES

1.       Plaintiff Mario Scorza is an individual residing in McLennan County, Texas.

2.       Defendant Davison Design & Development, Inc. (hereafter “Davison” or “DDD”) is a

Pennsylvania for-profit corporation doing business in McLennan County, Texas, as well as

nationwide, and may be served with process through its President and registered agent, Frank

Vescio, at its registered business address of 595 Alpha Drive, Pittsburgh, Pennsylvania 15238.

                                             II
                                  JURISDICTION AND VENUE

3.       Venue is proper in Allegheny County, Pennsylvania pursuant to the governing arbitration

provision contained within the contractual agreement between the Parties on which this case is

based.

4.       The applicable arbitration clause states the following:


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       “6. CHOICE OF LAW; ARBITRATION; CURE

           A. This Agreement shall be governed by the Commonwealth of Pennsylvania and is
              deemed to be executed, entered into and performed in Pittsburgh, Pennsylvania.
              For any dispute, the parties agree to seek to resolve the dispute through good faith
              negotiation. For any disputes not resolved through good faith negotiation, the
              parties agree that all disputes shall ne resolved through arbitration before the
              American Arbitration Association (“AAA”) in Pittsburgh, Pennsylvania using the
              Commercial Arbitration Rules in effect on the date that the claim is submitted to
              the AAA. Client agrees that any claim must be brought in an individual capacity,
              and not as a plaintiff or class member in any purported class or representative
              proceeding.
           B. No Claim for breach of the Agreement shall be permitted unless Client has given
              Davison reasonably specific written notice of the alleged breach and has permitted
              Davison a reasonable opportunity to cure the alleged breach, which shall be no less
              than thirty days after Client gives his or her assent to the proposed cure.”

5.     Jurisdiction is proper as the American Arbitration Association has complete authority and

jurisdiction over this case pursuant to the governing arbitration provision contained within the

contractual agreement between the Parties on which this case is based.

                                           III
                                  FACTUAL BACKGROUND

6.     On or about March 23, 2017, Plaintiff contracted with Defendant through a “New Product

Sample Contract” (the “Agreement”) for the further development, advertising and marketing of a

unique invention designed by Plaintiff. Pursuant to the Agreement, Plaintiff paid Defendant a total

monetary fee of Twenty-Five Thousand Forty-Two and 00/100 dollars ($25,042.00), for which

Defendant was to provide (1) “Creative Presentation Materials,” consisting of development,

troubleshooting, manufacturing, packaging, rendering, and marketing services; (2) “Creati[on of]

The Product Sample,” consisting of producing computer renderings, production drawings, and

professional finishing imaging; (3) “Creati[on of] The Packaging Sample, consisting of supplying

renderings and imaging related to product packaging; and (4) “Product Sample Finalization,”

consisting of creating a usable final sample of both Plaintiff’s product and its developed packaging;



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as well as (5) provide information related to provisional patent applications, marketing quotes and

materials to be used in advertising, and a comprehensive summary of all services suggested,

performed, and/or developed with regard to Plaintiff’s unique invention.

7.     Despite Plaintiff’s dutiful payment, delivered upon Defendant’s request, the single service

provided by Defendant (of the dozens that should have been provided, as contemplated and

described above) was a single computer-generated image of the possible final form and appearance

of Plaintiff’s invention. To date, no “Presentation Materials”, no “Product Sample” or prototype,

no usable sample, no “Packaging Sample” and no information or assistance related to marketing,

advertising or patenting has ever been received by Plaintiff.

8.     Although Plaintiff repeatedly attempted to contact Defendant in order to receive the

services and materials Defendant promised to provide, Defendant never produced any further

services nor provided any further materials regarding the continued development of Plaintiff’s

unique invention. Moreover, Plaintiff was never contacted by a single company or even one

individual assisting in the development, advertising, marketing or selling of Plaintiff’s invention,

contrary to the “hundreds or more” purportedly contracting companies working with and for DDD.

Because Defendant kept Plaintiff waiting for years beyond when Defendant should have

completed the preparations and assisting services that would have enabled Plaintiff to

commercialize Plaintiff’s invention, a separate inventor developed a similar product that

intercepted and absorbed the marketspace that would have been rightfully filled by Plaintiff had

Defendant performed the services that Defendant was contractually obligated to provide. In

addition, this extended delay resulted in the loss of all rights to any patentable inventions that

would not have occurred but for Plaintiff’s reliance on Defendant’s enticements, promises and

directed incentives.



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9.     Defendant purposefully induced Plaintiff to contract with Defendant for the purported

services and materials contemplated and described herein in order to receive the contractual

payments made to Defendant by Plaintiff.          Defendant falsely represented to Plaintiff that

Defendant could quickly and competently perform development services that would enable

Plaintiff to commercialize Plaintiff’s invention, and that Defendant could further help to market,

advertise, and even provide potential investors and promoters necessary to tender the costs of any

further required development. Plaintiff had no educational background or training in marketing,

advertising, product development or intellectual property protection, so Plaintiff believed and

relied on the promises made by Defendant that Defendant would and could help bring Plaintiff’s

invention to market and provide the contractual services paid for by Plaintiff.

10.    It is Plaintiff’s reasonable contention that Defendant fleeced Plaintiff in order to receive

Plaintiffs’ payments, but then stalled the development of Plaintiff’s product or the provision of any

of the services Defendant promised to perform on Plaintiff behalf in the hope that Plaintiff would

become exasperated and eventually cease any further enforcement of the Agreement. Moreover,

Defendant, knowing Plaintiff’s age of 85, hoped to leverage Plaintiff’s age against him,

advantaging Defendant by drawing out any resolution on this matter past the life of Plaintiff.

Ultimately, despite having delivered required legal demand to Defendant prior to the instant filing,

as included in the Davison ‘New Product Sample Agreement” (pertinent passages recounted in

Section II above stating whereas “Client has given Davison reasonably specific written notice of

the alleged breach and has permitted Davison a reasonable opportunity to cure the alleged

breach”), Defendant has refused to respond to same or otherwise contact Plaintiff. Therefore,

Plaintiff was forced to bring the instant action to protect the legal rights afforded to Plaintiff both

at law and in equity.



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                                             IV
                                      CAUSES OF ACTION

A. Breach of Contract

11.    Plaintiff re-alleges the allegations contained in Paragraphs 1 through 9 of this Petition by

reference as if set forth verbatim herein and requests relief for Plaintiff’s breach of contract cause

of action.

12.    The contract for the provision of Defendant’s development services executed between

Plaintiff and Defendant represents a valid, enforceable contract.         Plaintiff contracted with

Defendant in order to receive the further development services necessary for Plaintiff to

commercialize Plaintiff’s unique invention in exchange for a certain sum of money. Pursuant to

the Agreement, Plaintiff tendered payment for Defendant’s purported services.              However,

Defendant wholly failed to provide the services for which Plaintiff contracted and tendered

payment such that Plaintiff was unable to ever commercialize Plaintiff’s unique invention,

resulting in immense damages in lost opportunities, expired rights and profits.

13.    Plaintiff has requested payment of the amount representing Plaintiff’s previous contractual

payments from Defendants, which is, among other significant damages, currently owed to Plaintiff

by same. To date, Defendant has failed to pay same, or any other of Plaintiff’s damages, to

Plaintiff. Defendant’s actions constitute breach of contract and entitle Plaintiff to receive its

requested relief.

B. Common-Law Fraud

14.    Plaintiff re-alleges the allegations contained in the preceding Paragraphs of this Petition by

reference as if set forth verbatim herein and requests relief from for Plaintiff’s common-law fraud

cause of action.




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15.    Defendant made material, false representations to Plaintiff that Defendant would and could

not only assist Plaintiff with the entire process of developing and finalizing Plaintiff’s unique

invention for commercialization, but the Defendant had the requisite training, knowledge, and

acumen to do so. At the time Defendant made the false representations to Plaintiff, Defendant

either knew the representations were false or recklessly made the positive assertions without

knowledge of their truth. Defendant made the false representations to Plaintiff with the intent that

Plaintiff enter into and execute the contract for Defendant’s purported services and Plaintiff’s

lucrative payments to Defendant.       Plaintiff entered into and executed same in reliance on

Defendant’s false representations and was caused injury thereby.

16.    Plaintiff justifiably relied on Defendant’s false representations, and through this reliance

allowed Defendant several opportunities to perform Defendant’s obligations pursuant to the

Agreement. Plaintiff would not have allowed Defendant the time consumed by these several

opportunities had Plaintiff known Defendant’s representations were false and that Defendant had

no intention of developing and promoting Plaintiff’s invention. Plaintiff was further injured by

allowing Defendant time to perform its obligations pursuant to the Agreement, time that Defendant

lay idle, all while Plaintiff’s market and intellectual property rights withered and expired.

Defendant’s actions constitute common-law fraud and entitle Plaintiff to receive Plaintiff’s

requested relief.

C. Pennsylvania Unfair Trade Practices and Consumer Protection Law

17.    Plaintiff re-alleges the allegations contained in the preceding Paragraphs of this Petition by

reference as if set forth verbatim herein and requests relief for Plaintiff’s claims for violations of

the Pennsylvania Unfair Trade Practices and Consumer Protection Law (“UTPCPL”).




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18.    Plaintiffs are consumers for the purposes of the UTPCPL because Plaintiff is an individual

who sought and acquired goods or services by lease (and the Agreement is governed by

Pennsylvania law). Defendant is a company that has committed unlawful acts pursuant to the

UTPCPL and may be sued pursuant to the UTPCPL. Defendant violated the UTPCPL when

Defendant committed the following unlawful actions.

          a. Defendant engaged in “unfair or deceptive acts or practices” that Plaintiff relied on

              to Plaintiff’s detriment. Specifically, Defendant:

                  i. Caused likelihood of confusion or of misunderstanding as to the source,

                      sponsorship, approval or certification of goods or services;

                  ii. Represented that goods or services have sponsorship, approval,

                      characteristics, ingredients, uses, benefits or quantities that they do not have

                      or that a person has a sponsorship, approval, status, affiliation, or connection

                      that he does not have;

                 iii. Represented that goods or services are of a particular standard, quality or

                      grade, or that goods are of a particular style or model, if they are of another;

                 iv. Did not promote goods or services with the intent of enlisting potential or

                      prospective sellers and marketers (i.e., multiple listing corporations

                      (MLCs)) as advertised;

                  v. Failed to comply with the terms of any written guarantee or warranty given

                      to the buyer at, prior to or after a contract for the purchase of goods or

                      services is made; and

                 vi. Engaged in other fraudulent or deceptive conduct which creates a likelihood

                      of confusion or of misunderstanding.



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19.     Plaintiff gave Defendant notice of Defendant’s violation of the Texas Deceptive Trade

Practices Act, although such notice serves the same purpose of placing Defendant on notice of

having violated the similar tenets of the UTPCPL. Despite such notice, Defendant has not

attempted to contact Plaintiff or resolve the current dispute in any regard.

20.     Defendant’s wrongful conduct is the producing cause of Plaintiff’s injury, which resulted

in damages incurred for the payments made by Plaintiff to Defendant in reliance on Defendant’s

promises, as well as the lost opportunities, rights and profits that Plaintiff would have realized had

Defendant even attempted to perform the services Defendant contractually promised to provide.

As such, Plaintiff further seeks recovery of unliquidated damages that are within the jurisdictional

limits of this arbitration.

D. Fraud by Non-Disclosure

21.     Plaintiff re-alleges the allegations contained in the preceding Paragraphs of this Petition by

reference as if set forth verbatim herein and requests relief for Plaintiff’s fraud by nondisclosure

cause of action.

22.     Defendant concealed or failed to disclose certain facts from Plaintiff, namely, that

Defendant neither intended, nor had the requisite acumen, to provide the services for which

Plaintiff contracted and tendered payment to Defendant. Defendant, as merchants of the purported

services advertised and represented by Defendant to Plaintiff, had a duty to disclose these facts to

Plaintiff. The facts were material as Plaintiff specifically inquired into these facts and contracted

with Defendant for the specific performance of the services required to further develop and market

Plaintiff’s unique invention. Defendant knew that Plaintiff was ignorant of the facts that Defendant

neither could, nor would, provide the contractually obligated services contemplated and described

within the Agreement. Defendant was deliberately silent when Defendant had a duty to speak and



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inform Plaintiff of Defendant’s ability and intention to perform the services contracted for by

Plaintiff. By failing to disclose these facts, Defendant intended to induce Plaintiff to enter into

and execute the Agreement and tender payment to Defendant. Plaintiff only executed same due

to Plaintiff’s reliance on Defendant’s non-disclosure, and Plaintiff was greatly injured as a result

of acting without knowledge of the facts undisclosed by Defendant.

E. Negligent Misrepresentation

23.     Plaintiff re-alleges the allegations contained in the preceding Paragraphs of this Petition by

reference as if set forth verbatim herein and request relief for Plaintiff’s negligent

misrepresentation cause of action.

24.     Defendant made representations to Plaintiff in the course of Defendants’ business, namely,

purported development and advertising and/or marketing services, and in a transaction in which

Defendant had a pecuniary interest. Defendant supplied false information for Plaintiff’s guidance

in the form of false representations that Defendant would perform the services promised by

Defendant in order to bring Plaintiff’s unique invention to market. Defendant failed to exercise

reasonable care or competence in obtaining or communicating this information to Plaintiff.

Plaintiff justifiably relied on Defendant’s representations, and Defendant’s negligent

misrepresentations proximately caused Plaintiff’s injury and continues to add injury to Plaintiff.

25.     Plaintiff brings this cause of action alternatively to Plaintiff’s fraud-based causes of action,

discussed previously herein. Defendant’s actions constitute negligent misrepresentation and

entitle Plaintiff to receive the relief requested herein.

                                              V
                                        ATTORNEY’S FEES

26.     Defendant’s wrongful actions have forced Plaintiff to retain the undersigned counsel to file

this suit and represent Plaintiff with regard to same. Plaintiff has presented its claims to Defendant

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in writing and demanded payment from Defendant for same. More than thirty (30) days have

elapsed since Plaintiffs sent their written demand for payment. Plaintiff should be entitled to

recover reasonable attorney’s fees for prosecuting this action.

                                              VI
                                           DAMAGES

27.     Plaintiff seeks the return of all funds previously paid to Defendant by Plaintiff due to

Defendant’s unlawful refusal to perform the service contracted for by Plaintiff. Additionally, and

alternatively to Plaintiff’s claims for damages in association with Plaintiffs’ UTPCPL causes of

action, Plaintiff asserts that Defendant’s unlawful actions are aggravated by that kind of

willfulness, wantonness, and malice for which the law allows the imposition of exemplary

damages. The conduct of Defendant was intentional, willful, and wanton, was without justification

or excuse, and is offensive to any sense of public justice. Defendant acted with gross indifference

to the rights and interest of Plaintiff. Therefore, Plaintiff seeks punitive or exemplary damages

from Defendant. An award of exemplary damages will not only deter Defendant from again taking

such wrongful actions but would also serve to warn and deter others who might consider such

actions in the future.

                                              VII
                                            PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Mario Scorza respectfully requests

that Defendant Davison Design & Development, Inc. be cited to appear and answer, and, upon

final hearing, Plaintiff recover from Defendant the several damages discussed within this Petition.




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                                  Respectfully submitted,

                                  KEARNEY, MCWILLIAMS & DAVIS, PLLC

                                  /s/Bradley A. Nevills
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                                  Fax: (281) 206-0481
                                  Attorneys for Plaintiff




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---                                                               DAVISON-··
                                                                                                                                        March 23, 2017




                                              NEW PRODUCT SAMPJ .
                                                                                              (
 This agreement ("Agreement") made and entered into th:
 Inc. ("Davison"), a Pennsylvania Corporation, its succr
 Alpha Drive, Pittsburgh, Pennsylvania, and the Clier


 Name(s)                                        Mario Scorza
 Address                                        612 Highlani
 City, State, Zip                               West, TX 7


 Whereas, the Client has originated, dev
 and

 Whereas, the Client desires to reta:
 conditions hereinafter set forth.

 NOW, THEREFORE, in con'
 herein, the Client and Davfr




 A. Creating Presentation Materials:

                                                                                                                          .;ed features and
                                                                                                                        .keting capabilities.

                                                                                                                   Jblem solved by the Idea,


    iii) The Development Team will review the Idea, the problem to be solvea, and the targeted corporation's
    manufacturing and marketing capabilities to begin the blending and integrating process. The Development
    Team may conduct additional research concerning the Idea and the targeted corporation.

    iv) Preliminary Product Design: Development Team "brainstorming" sessions will be held to uncover
    product design solutions that blend with the targeted corporation's manufacturing capabilities. The
    ergonomics and aesthetics of the product are also taken into consideration. This subjective process often
    results in the Development Team making modifications and enhancements, which are sometimes




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                                                                   DAVISON-,.,

    substantial, to the proposed solution or the preliminary design submitted by Client, particularly if Client's
    proposed design is not a cost effective solution to solving the problem outlined by the client, does not
    reflect current manufacturing techniques or may be in conflict with products patented or on the market.

    v) Preliminary Package Design: Package Development Team "brainstorming" sessions will be held to
    uncover package design solutions that resemble the targeted corporation's product line. The package's
    communication will also be considered to achieve quick product identification.

    vi) Integrated Product Rendering: The product design and package design will be brought-to-life to look
    real in a virtual three dimensional environment. A full color spectrum print that resembles what the
    product sample will look like will be sent to the Client for approval, which shall not be unreasonably
    withheld by Client, before creating the physical product sample. Unless requested by a potential licensee,
    no changes will be made to the product and package designs after Client has approved them.


 B. Creating The Product Sample

    i) Product Sample Orientation: The analysis of the project will be applied to create a cost efficient and
    effective production process. Our exclusive development process will ensure that the product attempts to
    reflect, as closely as reasonably possible, the targeted corporation's manufacturing methods.

    ii) Production Drawings and/or CAD (Computer Aided Drawings) Illustrations: The product's
    manufacturing specifications will be entered into a computer program, if appropriate for this project. This
    will be used to generate production drawings for component quoting and/or for the targeted corporation's
    review. The drawings will be printed for review, analysis and use.

    iii) Creation of STL,DXF or G-Code Files (Computer Software Developed): This is a sophisticated
    computer process that transfers production drawings and/or CAD drawings into a computer code to
    transfer the data to the code used by the shop's machinery to produce all or parts of the final product
    sample.

    iv) Circuit Design Assembly: If applicable to your particular project, Davison will utilize a proprietary
    software circuit board design application for schematic capture, circuit simulation, PCB layout and
    autorouting. High quality software design tools can create more efficient use of limited board space and
    reduce overall production costs in the final design.

    v) Machine Product Sample: This stage of development involves the process of building the product
    sample. It includes the machine set up, preparation of the raw materials and then machining or fabricating
    the necessary parts. Pre-manufactured components, known as Original Equipment Manufacturer ("OEM")
    components, may be purchased and used for a portion or all of the parts utilized in the sample. Davison is
    not required to produce production drawings, CAD drawings or G-code files for OEM parts.

    vi) Parts Preparation/Finishing: The product sample will have a professional appearance with the




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     appropriate finishes applied. The finishing shop will address this issue and apply the finishes to the product
     sample.

    vii) Product Sample Assembly: The finished or OEM parts will be assembled to create a complete product
    sample. The sample is for demonstration purposes and may differ in appearance, size, materials,
    performance and other characteristics from the type of final licensed product built by a manufacturer in
    full production.

     viii) Photography: For documentation purposes, photographs of the product sample will be taken and
     securely filed.


  C. Creating The Packaging Sample

    As appropriate, the following tasks will be performed for your project. Please note that some tasks may not
    be necessary.

    i) Packaging Team Orientation: This is a team meeting to determine the appropriate packaging style to
    merchandise the product. There will be an analysis of all known styles and one will be designed that best
    fits the product.

    ii) Package Design & Engineering: The product size, weight and level of fragility will be analyzed. The
    proper gauge and internal structural components will be designed to best protect the product from damage.
    The package will also be designed in order to aid a potential manufacturer to palletize the product properly
    as well as to aid in merchandising the product.

    iii) Packaging Production Drawings and\or CAD (Computer Aided Drawings) Illustrations: The package's
    manufacturing specifications will be entered into a packaging computer program, as appropriate. This will
    be used to generate packaging production drawings.

    iv) Creation of a G-Code files (Computer Software): This is a sophisticated computer process that transfers
    production drawings into computer code that is programmed into machinery to produce the final
    packaging sample.

    v) Machine Packaging Sample: This stage of development involves the process of cutting, perforating and
    creasing the packaging material. It includes the machine set up, preparation of the packaging material and
    then machining and fabricating the necessary parts.

    vi) Packaging Preparation Finishing: The machine packaging sample will have a professional appearance
    with the appropriate images applied. The packaging shop will address this issue and apply the images to
    the packaging.

    vii) Packaging Sample Assembly: The finished package will be assembled to create a complete packaging




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                                                                 DAVISON~.

    sample. The packaging sample is for demonstration purposes and may differ from the type of final
    packaging built by a corporation in full production.

    viii) Photography: For documentation purposes, photographs of the packaging sample will be taken and
    securely filed.


 D. Product Sample Finalization

    i) Product Sample Finalization: The product and package will be placed together to create the final product
    sample.

    ii) Product Sample Integrity Review: The product sample and package are reviewed by a quality assurance
    team to verify that the final product sample accurately represents the design approved by Client. The
    product design approved by Client and depicted in the Integrated Product Rendering may differ from the
    product sample constructed. The sample may have different characteristics intended for ease of
    demonstration, shipment, display, alteration, disassembly or component viewing by a potential licensee.

    iii) Prepare Shipping Container: A shipping container will be obtained or built to protect the Product
    Sample during shipment.


 E. Production Quotes

    Production Quotes: If and/or when the targeted corporation decides to acquire the Idea, Davison will work
    with the corporation to establish production quotes, if requested by the corporation.


 F. Information for Provisional Patent Application

    Davison will develop and provide descriptive information that the Client may find useful in filing a
    Provisional Patent Application in the United States. This information is provided after the Client approves
    the virtual reality print of the product sample design and the product sample is constructed. The Client is
    solely responsible for the sufficiency, completion and submission of any final application, United States
    Patent & Trademark Office form PTO/SB/16, and any other patent or trademark applications that may be
    necessary.


 G. Executive Summary

    Executive Summary: The Client will be provided with a packet of information that will include a summary
    of the problem solved by the idea, the product sample's key functional features and the computerized
    drawings of the components manufactured by Davison. A full color photograph of the sample and its




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    packaging is included in the Executive Summary.


 H. Use of Client-Provided Material

    Davison may use all or part of any materials submitted to Davison by Client, including a prototype or parts
    contained in a prototype, as the basis for the design of a product sample or as actual components to the
    final product sample. Client consents to the disassembly, copying, use, modification, destruction or
    alteration of any materials submitted by Client to Davison and understands that Davison has no obligation
    to return such materials or to maintain them in the condition they were in when originally sent to Davison
    by Client.


  2. TERM OF THE AGREEMENT

    The term of this Agreement shall commence on the date that Davison receives the retainer provided in
    Section 3A and a complete properly signed Agreement and all other documents requested by Davison. The
    Agreement will then remain in force until the completion of the product sample.


 3. RETAINER AND ROYALTY

    A. In consideration for all of the services provided by Davison to the Client during the term of this
    Agreement, the Client agrees to compensate Davison in United States dollars by selecting one of the
    options below and placing his or her initials next to the chosen option. In the event that Client does not
    initial a choice, Client agrees to be deemed to have chosen Option 4:


                       _ _ _ Option 1              $165.00 U.S. dollars per hour plus expenses.
                       _ _ _ Option 2              $14,757.25 U.S. dollars
                       _ _ _ Option 3              $12,757.25 U.S. dollars and a 5% royalty assigned to Davison.
                       _ _ _ Option 4              $10,757.25 U.S. dollars and a 10% royalty assigned to Davison.

    B. Davison hereby pledges that the selected option in Section 3A will be kept in the strictest confidence
    from all parties, including the development staff of Davison.

    C. The retainer amount selected in Section 3A shall be considered a full retainer for all services described
    in this Agreement. In further consideration for services rendered by Davison under this Agreement, the
    Client agrees and understands that Davison shall be entitled to receive the royalty percentage the Client
    selected in Section 3A on all revenues as defined in Section 3D received by the Client or Davison,
    whichever is the case, from any individual, corporation or other entity. The royalties described in options 3
    and 4 are in addition to royalties granted under any other agreement between the parties.




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    D. "Revenues" shall mean the total amount oflicense fees , royalties, sale proceeds or other forms of
    consideration received as a result of the sale, license or other commercialization of the Idea. The
    percentage payable to Davison under this Agreement shall be paid as and when Revenues are paid by
    licensee or buyer. The royalty assignment to Davison is applicable only to Revenues due to Client in
    excess of any fees paid by Client to Davison for services under this and any other contract.

    E. The royalty obligation selected by the Client and described in Section 3A represents a continuing
    obligation of the Client to Davison and will survive the termination of this Agreement.


  4. REPRESENTATION, WARRANTIES & COVENANTS

    The Client and Davison, as applicable, represent and warrant to and agree as follows :

    A. The Client shall respond in a prompt and complete manner to all reasonable requests for information
    and assistance made by Davison during the development of the Idea. Client agrees that Davison may set,
    and inform Client of, deadlines for Client to submit comments on designs prepared by Davison and that in
    the absence of timely receipt by Davison of Client's comments all designs are deemed accepted and
    approved by Client.

    B. The Client warrants to Davison that the Client, to his/her best knowledge and belief, is the sole owner
    of the Idea and that no other entity or individual has any rights or interest in the Idea.

    C. The Client warrants to Davison that all information provided to Davison is true, complete and accurate
    to the best of the Client's knowledge.

    D. The Client shall not hereafter sell, license, pledge, mortgage, place in trust, transfer, assign, or
    otherwise convey the Idea or any rights in the Idea, to any entity or individual, without first informing
    them of the terms of this Agreement and giving Davison prior written notice.

    E. The Client warrants to Davison that he/she is of legal age and has the legal capacity to enter into this
    Agreement.

    F. The Client reserves the right to review all materials prepared by Davison in regard to the development
    of the Idea. The items to be delivered for Client's possession pursuant to this Agreement are the Integrated
    Product Rendering and the Executive Summary. Client intends that Davison will retain possession of the
    product and packaging sample, unless Client requests otherwise in writing.

    G. It is hereby acknowledged by the Client that Davison's royalty/commission percentage is not, in any
    form, an ownership interest in the Idea.

    H. Davison agrees to accept all reasonable requests of the Client that are consistent with the goal of
    solving the problem in a simple and cost effective manner. Davison reserves the right to redesign the




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    product to take advantage of a cost effective solution to the problem for which the product was intended
    and to reflect current manufacturing techniques. Client agrees to accept all reasonable design
    modifications, parts selections and enhancements recommended by Davison.

    I. Davison promises to keep all aspects concerning the Client, the Idea and/or the terms of this business
    relationship in general, and this Agreement in particular, in the highest level of confidentiality. All
    materials in said connection whether written or oral are subject to the Client's approval prior to the release
    of any information.


 J. Acknowledgments.

    i) Davison has made no representations concerning the likelihood that the Client will receive any financial
    gain from the development of the Idea.

    ii) Client acknowledges that Davison has not and will not evaluate the commercial potential of the Idea
    and that Davison has not disclosed it to anyone. Thus, there is no way of knowing at this time if the
    targeted corporation will license, buy or pay royalties for the Idea once it has been developed. Client
    acknowledges that Davison has made no representations concerning the likelihood of licensing, marketing,
    royalty payments or profitability. Davison's offer of services for upfront consideration and for a portion of
    possible royalties is not a representation by Davison that the Idea has merit or that development will result
    in a license or payments to Client.

    iii) Only official government agencies can award a patent, trademark and/or copyright. Davison is not a
    law firm. Davison is not providing, and Client is not relying upon Davison for, legal advice. Client
    acknowledges that he/she is responsible for patenting his/her Idea and that Davison has made no
    representations concerning the patentability of the Idea or its ultimate design. Solely as a courtesy and
    convenience to Client, Davison provides the following information from the U.S. Patent and Trademark
    Office concerning provisional patents:

    a) The Client should treat his/her Idea as a confidential subject in order to protect his/her legal rights until
    such time as a Utility Patent, Design Patent, Trademark and/or Copyright is issued.

    b) A Provisional Patent Application establishes an official United States patent application filing date for
    the Idea.

    c) A Provisional Patent Application permits one year's authorization to use "patent pending" notice in
    connection with the Idea.

    d) A Provisional Patent Application enables immediate commercial promotion of the Idea.

    e) A Provisional Patent Application automatically is abandoned after 12 months if the Client takes no
    further action.




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    f) The fee for filing a Provisional Application for Patent is subject to change annually and varies based
    upon the entity status. Currently, the fee is $260.00 for a 'Large Entity'; $130.00 for a 'Small Entity'; and
    $65.00 for a 'Micro Entity.'

    g) A Provisional Patent Application can NEVER mature into a United States patent. In order for a patent to
    issue the Provisional Patent Application MUST be replaced by a conventional patent application within
    one year.

    h) A Provisional Patent Application provides a simplified filing with one full year to assess the Idea's
    commercial potential before committing to the higher cost of filing and prosecuting an additional
    non-provisional application for a patent.


    K. Any Patent Application filing fees, patent filing fees, issue fees, and maintenance fees fall outside the
    scope of this Agreement if/when they are needed in the future.

    L. The Client shall not be responsible for any additional expenses to Davison within the scope and term of
    this Agreement, with the possible exception being additional services to present the Idea to an additional
    targeted corporation which may include services to refurbish or repackage the sample, for which Davison
    currently charges $395.00. Davison's obligations are only those set forth in this Agreement and only
    directed towards the targeted corporation named on the last page of this Agreement. Davison is not
    responsible for damage, loss, wear or abuse of the product sample after it leaves Davison's possession.

    M. Davison cannot be aware of, and is not responsible for, the existence of every similar product or idea
    that may already be in the global market, in development by others, or introduced by others at a later time.

    N. THERE ARE NOWARRANTIES WHICH EXTEND BEYOND THE FACE OF THIS
    AGREEMENT, INCLUDING NO WARRANTY OF MERCHANTABILITY. Because this contract is for
    the development of a new product sample, Davison cannot guarantee that the product sample will be safe
    under normal use or if abused, which could occur. The liability of the parties for any and all claims arising
    from or relating to this Agreement or its formation is limited to direct, actual damages only and is further
    limited to not exceed the amount actually paid by Client for the services. In no event will Davison be liable
    to Client for any consequential, exemplary, special, incidental or punitive damages, including lost
    opportunities or lost profits.

    0. Client acknowledges that there have been no representations by Davison that the Idea as conceived and
    submitted by Client is novel or feasible or that the design to be created by Davison will function in the
    manner and with the attributes as originally conceived by Client. Davison may develop, but is not required
    to develop, new technology in the performance of this contract. Enhancements to existing products, or
    alternative methods to dispense, display or package existing products, if determined by Davison to be
    appropriate, will be acceptable performance of the obligations under this Agreement. This Agreement does
    not contain or incorporate any specifications, performance characteristics or other qualities for the design




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    or product sample to be produced.

    P. Client acknowledges that he/she is contracting for Davison's research, industrial design and
    development services for the business purpose of developing Client's Idea commercially and not for any
    personal, family or household purpose.


 5. ENTIRE AGREEMENT; ORAL REPRESENTATIONS VOID

    A. The parties intend this document to be the complete, exclusive, final and fully integrated statement of
    their agreement. It is binding upon each of them and their respective successors in interest. This
    Agreement may not be released, discharged, abandoned, changed, or modified in any manner except as
    provided herein or by separate instrument in writing signed by all parties. The obligations described herein
    are completely independent from those contained in any other agreement between these parties. If any
    portion of this Agreement is ruled to be unenforceable, that specific portion shall be severed from the
    Agreement and all other portions remain enforceable.

    B. Neither party is relying upon any oral agreement or representation in entering into this Agreement and
    all prior oral agreements or representations are hereby considered null and void.


 6. CHOICE OF LAW; ARBITRATION; CURE

    A. This Agreement shall be governed by the law of the Commonwealth of Pennsylvania and is deemed to
    be executed, entered into and performed in Pittsburgh, Pennsylvania. For any dispute, the parties agree to
    seek to resolve the dispute through good faith negotiation. For any dispute not resolved through good faith
    negotiation, the parties agree that all disputes shall be resolved through arbitration before the American
    Arbitration Association ("AAA") in Pittsburgh, Pennsylvania using the Commercial Arbitration Rules in
    effect on the date that the claim is submitted to the AAA. Client agrees that any claim must be brought in
    an individual capacity, and not as a plaintiff or class member in any purported class or representative
    proceeding.

    B. No claim for breach of this Agreement shall be permitted unless Client has given Davison reasonably
    specific written notice of the alleged breach and has permitted Davison a reasonable opportunity to cure
    the alleged breach, which shall be no less than thirty days after Client gives his or her assent to the
    proposed cure.




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